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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SID MILLER, et al.,                      §
                                          §
        Plaintiffs,                       §
                                          §
 v.                                       §
                                          §               Civil Action No. 4:21-cv-0595-O
 TOM VILSACK, in his official capacity as §
 Secretary of Agriculture,                §
                                          §
        Defendant.                        §

                                              ORDER

        Before the Court is the Government’s Notice, informing the Court of its interpretation of

this Court’s injunction Order and the Government’s planned implementation of the debt-relief

program in light of that order and binding orders of other courts. See Notice, ECF No. 61. The

Court appreciates the Government’s furnished notice and good-faith attempt to comply with court

orders in this case.

        This Court’s July 1 Order enjoined the Government

        from discriminating on account of race or ethnicity in administering section 1005
        of the American Rescue Plan Act for any applicant who is a member of the Certified
        Classes. This prohibition encompasses: (a) considering or using an applicant Class
        Member’s race or ethnicity as a criterion in determining whether that applicant will
        obtain loan assistance, forgiveness, or payments; and (b) considering or using any
        criterion that is intended to serve as a proxy for race or ethnicity in determining
        whether an applicant Class Member will obtain loan assistance, forgiveness, or
        payments.

Order, ECF No. 60. Although this requires the Government to act under section 1005 without

consideration of race or ethnicity for any applicants to the debt-relief program, it did not directly

address the Government’s use of race and ethnicity in identifying and noticing loan-holders who

may be eligible for debt relief but have yet to apply. See id.
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       Accordingly, the Court ORDERS Plaintiffs to respond to the Government’s Notice by

July 5, 2021 indicating whether Plaintiffs are injured in the Government’s continued use of race

and ethnicity in preparatory steps in this way, and if so, its proposed remedy. The Government

may reply to Plaintiffs’ filing by July 6, 2021.

       SO ORDERED this 3rd day of July 2021.


                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE




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